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     In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1976V
                                        UNPUBLISHED


    SCOTT SOUTHERLAND,                                       Chief Special Master Corcoran

                        Petitioner,                          Filed: January 7, 2021
    v.
                                                             Voluntary dismissal; Order
    SECRETARY OF HEALTH AND                                  concluding proceedings; Duplicate
    HUMAN SERVICES,                                          petition

                        Respondent.



                            ORDER CONCLUDING PROCEEDINGS1

         On December 28, 2020, Scott Southerland filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa—10
through 34.,2 (the “Vaccine Act”). Petitioner alleged that he suffered an adverse reaction
to an influenza vaccination he received on November 17, 2018. Petition at 2. Prior to
filing this petition, Petitioner had filed an earlier petition (case no. 20-1972V) alleging an
adverse reaction to the same vaccination.

       On December 30, 2020, Petitioner filed a notice of voluntary dismissal noting that
this case was inadvertently filed and was in fact a duplicate of his earlier case, 20-
1972V.

       The Vaccine Act permits “[o]nly one petition may be filed with respect to each
administration of a vaccine.” 42 U.S.C. § 300aa—11(b)(2); Vaccine Rule 2(a)
(implementing the statute). In light of Petitioner’s “notice of dismissal at any time before
service of respondent’s report” pursuant to Vaccine Rule 21(a), this case is dismissed
without prejudice.


1Although I have not formally designated this Decision for publication, I am required to post it on the United
States Court of Federal Claims' website because it contains a reasoned explanation for the action in this
case, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will be
available to anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has
14 days to identify and move to redact medical or other information, the disclosure of which would constitute
an unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this
definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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IT IS SO ORDERED.


                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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